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                      UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW HAMPSHIRE

United States of America

     v.                                      Case No. 07-cr-216-PB

Linda Lopez

                               O R D E R

     The defendant, through counsel, has moved to continue the

May 6, 2008 trial in the above case to allow time to finalize a

plea agreement.    The government does not object to a continuance

of the trial date.

     Accordingly, for the above reasons, the court will continue

the trial from May 6, 2008 to June 3, 2008.         In agreeing to

continue the trial, the court finds pursuant to 18 U.S.C.A. §

3161(h)(8)(A) that for the above-stated reasons, the ends of

justice served in granting a continuance outweigh the best

interests of the public and the defendant in a speedy trial.

     SO ORDERED.


                                       /s/Paul Barbadoro
                                       Paul Barbadoro
                                       United States District Judge
May 5, 2008
cc: Bjorn Lange, Esq.
     Kenneth Glidden, Esq.
     Peter Papps, AUSA
     United States Probation
     United States Marshal
